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12
                                NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14

15
     UNITED STATES OF AMERICA,                     Case No. 3:21-CR-00155-JD
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                                                   CARLOS KEPKE’S MOTION FOR A
                      Plaintiff,
                                                   PRETRIAL CONFERENCE AND
17
                                                   DISCOVERY PURSUANT TO THE
            v.
                                                   CLASSIFIED INFORMATION
18
                                                   PROCEDURES ACT
     CARLOS E. KEPKE,
19
                      Defendant.                   Date:        October 17, 2022
20                                                 Time:        10:30 a.m.
                                                   Courtroom:   11
21                                                 Judge:       Hon. James Donato

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                 CARLOS KEPKE’S MOTION FOR CIPA PRETRIAL CONFERENCE AND DISCOVERY
                                     CASE NO. 3:21-CR-00155-JD
